B1 (Official Form 1)Case
                     (04/13)   14-28990             Doc 1          Filed 08/07/14             Entered 08/07/14 12:23:23                        Desc Main
                                     UNITED STATES BANKRUPTCYDocument
                                                             COURT                            Page 1 of 55
                                                                                                                                     VOLUNTARY PETITION
                                    Northern
                                    __________District of __________
                                              District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
  Doss, Peggy D.                                                                               NONE
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):
  Doss, Peggy
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                (if more than one, state all):
                                    9661
 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
 12142 South Ada Street
 Chicago, IL
                                                                    ZIP CODE 60643                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
                            Cook
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):
  Same as above

                                                                 ZIP CODE                                                                                   ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                         ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                              Chapter 7                  Chapter 15 Petition for
  ✔     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                ✔      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                        Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                 (Check one box.)
                                                                                                                      ✔ Debts are primarily consumer               Debts are
                                                                          Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.                primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States           § 101(8) as “incurred by an                business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).             individual primarily for a
                                                                                                                        personal, family, or
                                                                                                                        household purpose.”
                                Filing Fee (Check one box.)                                                                 Chapter 11 Debtors
                                                                                               Check one box:
  ✔     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
  ✔        Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-          25,001-          50,001-           Over
                                                           5,000           10,000         25,000           50,000           100,000           100,000

 Estimated Assets
               ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                                million    million         million        million          million
 Estimated Liabilities
                               ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                                million    million         million        million          million
B1 (Official Form 1)Case
                     (04/13) 14-28990           Doc 1 Filed 08/07/14 Entered 08/07/14 12:23:23 Desc Main                                                                  Page 2
 Voluntary Petition                                           Document              Page
                                                                                     Name of2    of 55
                                                                                               Debtor(s):
 (This page must be completed and filed in every case.)                                Peggy D. Doss
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
                      Northern District of Illinois                                   12 B 25343 (chapter 13)                           06/25/2012
 Where Filed:
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:         Northern District of Illinois                                   10 B 44958 (chapter 13)                           10/07/2010
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:
                      NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                               (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                   whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X     /s/Martin J. O'Hearn                       08/04/2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  ✔    Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              ✔        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1)Case
                     (04/13) 14-28990           Doc        1     Filed 08/07/14 Entered 08/07/14 12:23:23                                      Desc Main                     Page 3
 Voluntary Petition                                                Document     Page
                                                                                Name of 3 of 55
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)                                      Peggy D. Doss
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X      /s/Peggy D. Doss                                                                     X
      Signature of Debtor                                                                         (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
        08/04/2014                                                                                Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X      /s/Martin J. O'Hearn                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
        Martin J. O'Hearn, Atty # 6185904                                                    provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
        Law Offices of Martin J. O'Hearn                                                     guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
        10047 South Western Avenue                                                           or accepting any fee from the debtor, as required in that section. Official Form 19 is
        Chicago, Illinois 60643                                                              attached.
      Address
       773-238-4400
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
        08/04/2014
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the information           partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 in the schedules is incorrect.

                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true        Address
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.
                                                                                             X
 The debtor requests the relief in accordance with the chapter of title 11, United States         Signature
 Code, specified in this petition.

 X                                                                                                Date
      Signature of Authorized Individual
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                  partner whose Social-Security number is provided above.

      Title of Authorized Individual                                                         Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                             in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                             individual.

                                                                                             If more than one person prepared this document, attach additional sheets conforming
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                              Document     Page 4 of 55


B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                Peggy D. Doss
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          u 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        u 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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                                               Document     Page 5 of 55


                                                                                                 Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        u 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       u 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 u Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 u Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 u Active military duty in a military combat zone.

       u 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                                                   /s/Peggy D. Doss
                                          Signature of Debtor: ________________________

                                                    8/5/2014
                                          Date: _________________
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B 201A (Form 201A) ()
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                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $ administrative fee, $15 trustee surcharge: Total fee $3)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
           Case 14-28990 Doc 1 Filed 08/07/14 Entered 08/07/14 12:23:23                             Desc Main
         Form B 201A, Notice to ConsumerDocument
                                         Debtor(s) Page 7 of 55                                          Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $ administrative fee: Total fee $)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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B6 Summary (Official Form 6-Summary) (12/13)



                                  UNITED STATES BANKRUPTCY COURT
                                                 Northern District of Illinois

 In re Peggy D. Doss, Debtor(s)                                  Case No.

                                                                 Chapter            13


                                      SUMMARY OF SCHEDULES
 Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the total from Schedules
 A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the Debtor’s
 assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual
 debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file a case under Chapter 7, 11, or
 13.



                                                                                   AMOUNTS SCHEDULED
                                                          NO.
  NAME OF SCHEDULE                     ATTACHED
                                                          OF             ASSETS             LIABILITIES               OTHER
                                                        SHEETS
                                        (YES/NO)

  A – Real Property
                                           YES             1        $72,000.00

  B – Personal Property
                                           YES             3        $12,532.00

  C – Property Claimed as Exempt
                                           YES             1

  D – Creditors Holding Secured
                                           YES             2                                $171,168.94
      Claims

  E – Creditors Holding Unsecured
                                           YES             4                                $1,855.54
      Priority Claims

  F – Creditors Holding Unsecured
                                           YES             7                                $36,952.15
      Nonpriority Claims

  G – Executory Contracts and
                                           YES             1
      Unexpired Leases

  H - Codebtors
                                           YES             1

  I – Your Income
                                           YES             4                                                      $2,528.61
  J – Your Expenses
                                           YES             3                                                      $2,152.32

                                                           27


                                                                    $84,532.00


                                                                                            $209,976.63
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Form 6-Statistical Summary (12/13)              Document     Page 9 of 55

                                UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois
In re Peggy D. Doss, Debtor(s)                                  Case No.

                                                                Chapter         13

 STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
        If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code
(11 U.S.C. § 101(8)), filing a case under 7, 11 or 13, you must report all information requested below.

         [ ] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


Type of Liability                                                                               Amount

Domestic Support Obligations (from Schedule E)                                                  $0

Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                      $1,855.54


Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)              $0
(whether disputed or undisputed)

Student Loans Obligations (from Schedule F)                                                     $0
Domestic Support, Separation Agreement, and Divorce Decree Obligations Not
Reported on Schedule E.                                                                         $0

Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)       $0

                                                                                 TOTAL          $1,855.54

State the following:

 Average Income (from Schedule I, Line 12)                          $2,528.61

 Average Expenses (from Schedule J, Line 22)                        $2,152.32

 Current Monthly Income (from Form 22A Line 12; OR,                 $2,534.19
 Form 22 B Line 11; OR, Form 22C Line 20)

State the following:
 1. Total from Schedule D, “UNSECURED PORTION, IF
 ANY” column.                                                                                   $42,968.61
 2. Total from Schedule E, “AMOUNT ENTITLED TO
 PRIORITY” column.                                                 $1,855.54
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY” column.                                                                      $0.00

 4. Total from Schedule F                                                                       $36,952.15

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                   $79,920.76
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B6A (Offical Form B6A) (12/07)

In re Peggy D. Doss , Debtor(s) Case No.



                                                SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the
debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

    If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




                                                                                      Husband, Wife,
              DESCRIPTION                                 NATURE OF                                     CURRENT VALUE OF                  AMOUNT




                                                                                       Community
                                                                                                        DEBTOR’SINTEREST



                                                                                         Joint, or
                  AND                                      DEBTOR’S                                        IN PROPERTY,                      OF
               LOCATION                                    INTEREST                                    WITHOUT DEDUCTING                  SECURED
                   OF                                    IN PROPERTY                                   ANY SECURED CLAIM                   CLAIM
               PROPERTY                                                                                   OR EXEMPTION



Single Family Residence                           Fee Simple                                           $72,000.00                 $168,712.51
12142 South Ada Street
Chicago, IL 60643




                                                                                      Total> $72,000.00

                                                                                       (Report also on Summary of Schedules)
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B6B (Official Form B6) (12/07)


In re Peggy D. Doss , Debtor(s)                 Case No.


                                                SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community own
the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." If the property is
being held for a minor child, simply state the child’s initials and the name and address of child’s parent or guardian, such as “A.B., a minor child, by John Doe,
guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


                                                                                                                        H
                                                N                                                                              CURRENT MARKET VALUE
         TYPE OF                                O                                                                       W      OF DEBTOR'S INTEREST IN
        PROPERTY                                N          DESCRIPTION AND LOCATION                                     J        PROPERTY, WITHOUT
                                                E                OF PROPERTY                                            C      DEDUCTING ANY SECURED
                                                                                                                                CLAIM OR EXEMPTION

1. Cash on hand.                                       Funds in Debtor’s possession                                          $110.00

2. Checking, savings or other financial                Funds in Debtor’s bank                                                $1,500.00
accounts, certificates of deposit, or shares
in banks, savings and loan, thrift, building
and loan, and homestead associations, or
credit unions, brokerage houses, or
cooperatives.

3. Security deposits with public utilities,     X
telephone companies, landlords, and
others.

4. Household goods and furnishings,                    Furniture and appliances in Debtor’s residence                        $400.00
including audio, video, and computer
equipment.
5. Books; pictures and other art objects;       X
antiques; stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearing apparel.                                    Clothing                                                              $200.00
7. Furs and jewelry.                                   2 Furs $200.00; Jewelry $200.00                                       $400.00
8. Firearms and sports, photo-                  X
graphic, and other hobby
equipment.
9. Interests in insurance policies. Name        X
insurance company of each policy and
itemize surrender or refund value of each.


10. Annuities. Itemize and name each            X
issuer.
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B6B (Official Form 6B) (12/07) -- Cont.

In re Peggy D. Doss, Debtor                   Case No.

                                              SCHEDULE B - PERSONAL PROPERTY
                                                                  (Continuation Sheet)

                                                                                            H
                                               N                                            W   CURRENT MARKET VALUE
       TYPE OF                                 O         DESCRIPTION AND LOCATION               OF DEBTOR'S INTEREST IN
                                                                                            J
      PROPERTY                                 N              OF PROPERTY                         PROPERTY, WITHOUT
                                               E                                            C   DEDUCTING ANY SECURED
                                                                                                 CLAIM OR EXEMPTION

11. Interests in an education IRA as           X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(1). Give
particulars. (File separately the record(s)
of any such interest(s). 11U.S.C. § 521
(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                401k Plan                                 $2,600.00
other pension or profit sharing plans.
Itemize.


13. Stock and interests in incorporated        X
and unincorporated businesses. Itemize.

14. Interests in partnerships or joint         X
ventures. Itemize.

15. Government and corporate                   X
bonds and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                       X
17. Alimony, maintenance, support, and         X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to             X
debtor including tax refunds. Give
particulars.
19. Equitable or future interests, life
estates, and rights or powers exercis-         X
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent               X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliquidated          X
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.

22. Patents, copyrights, and other             X
intellectual property. Give particulars.


23. Licenses, franchises, and other            X
general intangibles. Give particulars.
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B6B (Official Form B6) (12/07) --Cont.

 In re Peggy D. Doss , Debtor(s)              Case No.


                                              SCHEDULE B -PERSONAL PROPERTY
                                                                  (Continuation Sheet)


                                                                                                                       CURRENT MARKET VALUE
                                               N                                                                 H     OF DEBTOR'S INTEREST IN
          TYPE OF                              O         DESCRIPTION AND LOCATION                                W       PROPERTY, WITHOUT
         PROPERTY                              N                                                                 J     DEDUCTING ANY SECURED
                                               E               OF PROPERTY                                       C      CLAIM OR EXEMPTION


  24. Customer lists of other compilations     X
  containing personally identifiable
  information (as defined in 11 U.S.C. §
  101(41A)) provided to the debtor by
  individuals in connection with obtaining
  a product or service from the debtor
  primarily for personal, family, or
  household purposes.
  25. Automobiles, trucks, trailers, and              2001 Toyota Forerunner – 204,000 miles                          $7,322.00
  other vehicles and accessories.


  26. Boats, motors, and accessories.          X

  27. Aircraft and accessories.                X
  28. Office equipment, furnishings, and       X
  supplies.

  29. Machinery, fixtures, equipment,          X
  and supplies used in business.

  30. Inventory.                               X
  31. Animals.                                 X
  32. Crops - growing or harvested. Give       X
  particulars.

  33. Farming equipment and implements.        X

  34. Farm supplies, chemicals, and            X
  feed.

  35. Other personal property of any kind      X
  not already listed. Itemize.




                                                     _____0_______ continuation sheets attached              Total    $12,532.00

                                                               (Include amounts from any continuation sheets attached. Report total also on Summary)
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B6C (Official Form 6C) (12/07)

In re Peggy D. Doss , Debtor(s)              Case No. ________________


                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:    [ ] Check if debtor claims a homestead exemption that exceeds $136,875.00
(Check one box)
[X] 11 U.S.C. § 522(b)(2)
[ ] 11 U.S.C. § 522(b)(3)



   DESCRIPTION OF                         SPECIFIY LAW                           VALUE OF                       CURRENT MARKET
     PROPERTY                            PROVIDING EACH                          CLAIMED                       VALUE OF PROPERTY
                                                                                EXEMPTION                      WITHOUT DEDUCTING
                                           EXEMPTION                                                               EXEMPTION

Residence                             735 ILCS 5/12-901                  $15,000.00                           $72,000.00

Personal Property                     735 ILCS 5/12-1001 (b)             $4,000.00                            $2,410.00

Wearing Apparel                       735 ILCS 5/12-1001 (a) (e)         100%                                 $200.00

Vehicle                               735 ILCS 5/12-1001 (c)             $2,400.00                            $7,322.00

Pension                               735 ILCS 5/12-1006                 100%                                 $2,600.00
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    B6D (Official Form 6D) (12/07)

    In re Peggy D. Doss , Debtor(s)                                            Case No.

                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor
as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be
provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of
trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent
or guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See 11 U.S.C. §112 and Fed.R.Bankr.P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community
may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on
the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary
of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical
Summary of Certain Liabilities and Related Data.

           [ ] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                                           UNLIQUIDATED
                                                         Joint, or Community




                                                                                                              CONTINGENT
                                                                                    DATE CLAIM WAS                                                         AMOUNT OF
                                             CODEBTOR




                                                                                                                                          DISPUTED
      CREDITOR'S NAME,                                                            INCURRED, NATURE OF                                                        CLAIM                   UNSECURED
                                                         Husband, Wife,




      MAILING ADDRESS                                                                  LIEN, AND                                                            WITHOUT                   PORTION,
    INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                        DEDUCTING                   IF ANY
   AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                        VALUE OF
     (See instructions above.)                                                      SUBJECT TO LIEN                                                       COLLATERAL

 ACCT. NO.                                                                        Home Mortgage                                                        $121,271.27
 4472                                                                                                                                                  With arrears of
 Ocwen Ln Svcng (HSBC)                                                                                                                                 $1,811.70
 Bankruptcy Dept
 1661 Worthington Rd, #100
 W. Palm Beach, FL 33409                                                          VALUE $72,000.00
 ACCT. NO.                                                                        Attorney for Ocwen                                                   Notice Only
 4472 / 14-13-28122
 Ocwen Ln Svcng (HSBC)
 c/o Codilis & Assoc #100
 15W030 N. Frontage Rd
 Burr Ridge, IL 60527                                                             VALUE $72,000.00
 ACCT. NO.                                                                        2nd Mortgage                                                         $42,968.61                $42,968.61
 7051
 GMAC/Real Time Resolutn
 c/o Codilis & Assoc #100
 15W030 N. Frontage Rd
 Burr Ridge, IL 60527                                                             VALUE $72,000.00


    _1_ continuation sheets attached                                                                             Subtotal                             $164,239.88                $42,968.61
                                                                                                       (Total of this page)

                                                                                                                  Total                               $                          $
                                                                                                  (Use only on last page)
                                                                                                                                                     (Report also on Summary   (If applicable, report also
                                                                                                                                                     of Schedules.)            on Statistical Summary
                                                                                                                                                                               of Certain Liabilities and
                                                                                                                                                                               Related Data.)
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B6D (Official Form 6D) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s)                     Case No.

                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                   (Continuation Sheet)




                                                                                                                     UNLIQUIDATED
                                                    Joint, or Community
                                                                                                                                                    AMOUNT OF




                                                                                                        CONTINGENT
                                                                            DATE CLAIM WAS

                                         CODEBTOR




                                                                                                                                    DISPUTED
      CREDITOR'S NAME,                                                    INCURRED, NATURE OF                                                         CLAIM                   UNSECURED

                                                    Husband, Wife,
      MAILING ADDRESS                                                          LIEN, AND                                                             WITHOUT                   PORTION,
  INCLUDING ZIP CODE, AND                                                   DESCRIPTION AND                                                         DEDUCTING                   IF ANY
      ACCOUNT NUMBER                                                       VALUE OF PROPERTY                                                         VALUE OF
     (See instructions above.)                                              SUBJECT TO LIEN                                                        COLLATERAL

 ACCOUNT NO.                                                              2nd Mortgage                                                           Notice Only

 Real Time Resolutions
 1349 Empire Central Dr #150
 POB 36655
 Dallas, TX 75247                                                         VALUE $72,000.00
 ACCOUNT NO.                                                              2012 Property Tax                                                      $2,039.74
 25-29-119-011-0000
 Cook County Treasurer
 Bankruptcy Dept
 118 N. Clark Street, #112
 Chicago, IL 60602                                                        VALUE $72,000.00
 ACCOUNT NO.                                                              2013 Property Tax                                                      $1,751.22
 25-29-119-011-0000
 Cook County Treasurer
 Bankruptcy Dept
 118 N. Clark Street, #112
 Chicago, IL 60602
                                                                          VALUE $72,000.00
 ACCOUNT NO.                                                              2001 Toyota Forerunner                                                 $2,456.43
 3942
 Purchase money security interest
 Toyota Motor Credit Corp
 PO Box 8026
 Cedar Rapids, IA 52408-8026
                                                                          VALUE $7,322.00
 ACCOUNT NO.                                                              Water Bill                                                             $681.67
 620859-273857
 City of Chgo Dept of Fin
 Billing/Notices/Cust Svc
 333 S. State Street, #300
 Chicago, IL 60604
                                                                          VALUE $72,000.00

 Sheet no. _1_of_1_continuation sheets Attached to                                                          Subtotal                            $6,929.06                  $0.00
 Schedule of Creditors Holding Secured Claims                                                     (Total of this page)

                                                                                                             Total                              $171,168.94                $42,968.61
                                                                                              (Use only on last page)
                                                                                                                                               (Report also on Summary (If applicable, report also
                                                                                                                                               of Schedules.)          on Statistical Summary
                                                                                                                                                                       of Certain Liabilities and
                                                                                                                                                                       Related Data.)
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B6E (Official Form 6E) (12/07)

In re Peggy D. Doss , Debtor(s)                   Case No.


           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as
“A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See II U.S.C. § 112 and Fed.R.Bankr. P. 1007(m).
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them,
or the marital community may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or
Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)

   Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

   Report the total of amounts entitled to priority listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual
debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[ ] Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
[ ] Domestic Support Obligations

  Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
U.S.C. § 507(a)(1).
[ ] Extensions of credit in an involuntary case

 Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

[ ] Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

[ ] Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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B6E (Official Form 6E) (12/07) – Cont.



In re Peggy D. Doss , Debtor(s)          Case No.


[ ] Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

[ ] Deposits by individuals

  Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
  that were not delivered or provided. 11 U.S.C. § 507(a)(7).

[X] Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

[ ] Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

[ ] Claims for Death or Personal Injury While Debtor was Intoxicated

    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
a drug, or another substance. 11 U.S.C. § 507 (a)(10).




* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                              ____2_____ continuation sheets attached
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B6E (Official Form 6E) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s)                     Case No.

                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                         (Continuation Sheet)
                                                                                                                                                                Type of Priority for Claims Listed on this Sheet




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                                                COTINGENT
                                                                                                                                                                          AMOUNT




                                                                            or Community
      CREDITOR'S NAME,                                                                        DATE CLAIM WAS                                                                           AMOUNT




                                                                                                                                                           DISPUTED
                                                                                                                                                                                                    AMOUNT


                                         CODEBTOR
      MAILING ADDRESS                                                                          INCURRED AND                                                               OF CLAIM    ENTITLED        NOT
    INCLUDING ZIP CODE,                                                                       CONSIDERATION                                                                              TO        ENTITLED
   AND ACCOUNT NUMBER                                                                                                                                                                 PRIORITY         TO
     (See instructions above.)                                                                   FOR CLAIM                                                                                         PRIORITY,
                                                                                                                                                                                                     IF ANY



 ACCOUNT NO.                                                                               Red Light Camera                                                           $200.00         $200.00      $0
 5008/0020104732                                                                           Violation
 City of Oak Forest
 c/o Municipal Coll of Amer
 3348 Ridge Road
 Lansing, IL 60438-3112
 ACCOUNT NO. YM494403/                                                                     Traffic Violation                                                          $225.70         $225.70      $0
 2008-05-20-11.36.57
 Village of Evergreen Park
 c/o Arnold Scott Harris PC
 111 W. Jackson, #600
 Chicago, IL 60604
 ACCOUNT NO.                                                                               Traffic Violation                                                          $716.54         $716.54      $0
 5097450380-5015005660
 City of Chgo Dept of Rev
 Bankruptcy Unit Rm 107A
 121 N. LaSalle
 Chicago, IL 60602

 ACCOUNT NO.                                                                               Traffic Violation                                                          $110.00         $110.00      $0
 9179571398/9182378012
 City of Chgo Dept of Rev
 Bankruptcy Unit Rm 107A
 121 N. LaSalle
 Chicago, IL 60602

 ACCOUNT NO.                                                                               Toll Violations                                                            $353.30         $353.30      $0
 17001652/167056316-
 VS110930564
 IL State Tollway Authority
 c/o NCO Financial Syst
 600 Holiday Plz Dr, #300
 Matteson, IL 60443


 Sheet no._1_of_2_continuation sheets attached                                                                                Subtotal                                $1,605.54       $1,605.54
 to Schedule of Creditors holding Priority                                                                          (Totals of this page)
 Claims

                                                                                                                                     Total                            $
                                                                                           (Use only on last page of the completed Schedule E.
                                                                                           Report also on the Summary of Schedules)

                                                                                                                                     Totals                                           $             $
                                                                                           (Use only on last page of the completed Schedule E. If
                                                                                           applicable, report also on the Statistical Summary of
                                                                                           Certain Liabilities and Related Data.)
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B6E (Official Form 6E) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s)                     Case No.

               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                        (Continuation Sheet)
                                                                                                                                                                Type of Priority for Claims Listed on this Sheet




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                                                COTINGENT
                                                                                                                                                                       AMOUNT


                                                                            or Community
      CREDITOR'S NAME,                                                                        DATE CLAIM WAS                                                                         AMOUNT




                                                                                                                                                           DISPUTED
                                                                                                                                                                                                    AMOUNT
      MAILING ADDRESS                    CODEBTOR                                              INCURRED AND                                                            OF CLAIM     ENTITLED          NOT
    INCLUDING ZIP CODE,                                                                       CONSIDERATION                                                                            TO          ENTITLED
   AND ACCOUNT NUMBER                                                                                                                                                               PRIORITY           TO
     (See instructions above.)                                                                   FOR CLAIM                                                                                         PRIORITY,
                                                                                                                                                                                                     IF ANY



 ACCOUNT NO.                                                                               Parking Ticket                                                             $250.00       $250.00        $0
 062517
 Village of Matteson
 Bankruptcy Dept
 4900 Village Commons
 Matteson, IL 60443
 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no._2_of_2_continuation sheets attached                                                                                Subtotal                                $250.00       $250.00
 to Schedule of Creditors holding Priority                                                                          (Totals of this page)
 Claims

                                                                                                                                     Total                            $1,855.54
                                                                                           (Use only on last page of the completed Schedule E.
                                                                                           Report also on the Summary of Schedules)

                                                                                                                                     Totals                                         $1,855.54       $0
                                                                                           (Use only on last page of the completed Schedule E. If
                                                                                           applicable, report also on the Statistical Summary of
                                                                                           Certain Liabilities and Related Data.)
               Case 14-28990                     Doc 1                                         Filed 08/07/14 Entered 08/07/14 12:23:23                                         Desc Main
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B6F (Official Form 6F) (12/07)

      In re Peggy D. Doss , Debtor(s)                                                         Case No.


            SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or
guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See 11 U.S.C § 112 and Fed. R. Bankr. P. 1007(m). Do not include
claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community
may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim
is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns).

   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[ ] Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                       Husband, Wife, Joint,




                                                                                                                                               UNLIQUIDATED
                                                                                                   DATE CLAIM WAS


                                                                                                                                  CONTINGENT
      CREDITOR'S NAME,                                                                              INCURRED AND                                                                  AMOUNT
                                            CODEBTOR

                                                                               or Community




                                                                                                                                                               DISPUTED
      MAILING ADDRESS                                                                            CONSIDERATION FOR                                                                   OF
    INCLUDING ZIP CODE,                                                                           CLAIM. IF CLAIM IS                                                               CLAIM
   AND ACCOUNT NUMBER                                                                           SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                         STATE.


 ACCOUNT NO.                                                                                                                                                              $1,604.46
 0988
 CompuCredit/Aspire
 c/o Jefferson Cap systems
 PO Box 7999
 St. Cloud, MN 56302-9617

 ACCOUNT NO.                                                                                                                                                              $2,412.39
 3454
 VANDA/Candica/FIA
 c/o Weinstein & Riley PS
 PO Box 3978
 Seattle, WA 98124
 ACCOUNT NO.                                                                                                                                                              $1,078.96
 9214
 Beneficial/Household Fin
 c/o PRA Receivables Mgmt
 PO Box 41067
 Norfolk, VA 23541


 _6_ continuation sheets attached                                                                                                              Subtotal                   $5,095.81
                                                                                                                                     (Total of this page)

                                                                                                                                                       Total              $
                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
              Case 14-28990                   Doc 1                                         Filed 08/07/14 Entered 08/07/14 12:23:23                                          Desc Main
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B6F (Official Form 6F) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s)                     Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                     Husband, Wife, Joint,




                                                                                                                                             UNLIQUIDATED
                                                                                               DATE CLAIM WAS




                                                                                                                                CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                               INCURRED AND                                                                      AMOUNT

                                                                             or Community




                                                                                                                                                             DISPUTED
      MAILING ADDRESS                                                                        CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                       CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                       SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                     STATE.


 ACCOUNT NO.                                                                                                                                                            $1,561.11
 1313
 Citibank (South Dakota)
 c/o eCAST Settlement Corp
 PO Box 29262
 New York, NY 10087-9262

 ACCOUNT NO.                                                                                                                                                            $1,617.85
 4777
 Citibank (South Dakota)
 c/o eCAST Settlement Corp
 PO Box 29262
 New York, NY 10087-9262
 ACCOUNT NO.                                                                                                                                                            $277.00
 D79703E61130
 Emergency Medical Spec
 c/o Creditor Disc & Aud
 415 E. Main Street
 Streator, IL 61364

 ACCOUNT NO.                                                                                                                                                            $3,071.00
 3556
 GEMB/Empire
 c/o Asset Acceptance
 PO Box 1630
 Warren, MI 48090-1630

 ACCOUNT NO.                                                                                                                                                            $2,676.00
 545800450608xxxx
 HSBC Bank
 PO Box 97280
 Portland, OR 97280



 Sheet no._1_of_6_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                             Subtotal                   $9,202.96
 Unsecured Nonpriority Claims.                                                                                                     (Total of this page)

                                                                                                                                                     Total              $
                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                     Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s) Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                              DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                              INCURRED AND                                                                      AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                       CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                      CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                      SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                    STATE.


 ACCOUNT NO.                                                                                                                                                           $1,738.94
 4377
 Mainstreet Acq/HSBC
 c/o Becket & Lee LLP
 PO Box 3001
 Malvern, PA 19355-0701

 ACCOUNT NO.                                                                                                                                                           $73.00
 13450465
 Universal Radiology
 c/o KCA Fincl Services
 628 North Streeet
 Geneva, IL 60134

 ACCOUNT NO.                                                                                                                                                           $796.26
 2984
 Macys/Dept Stores Ntl Bk
 Bankruptcy Processing
 PO Box 8053
 Mason, OH 45040

 ACCOUNT NO.                                                                                                                                                           $946.93
 4197
 PNC Bank
 PO Box 94982
 Cleveland, OH 44101


 ACCOUNT NO.                                                                                                                                                           $432.51
 7344
 WFNNB/Dress Barn
 c/o Quantum 3 Grp LLP
 PO Box 788
 Kirkland, WA 98083-0788


 Sheet no._2_of_6_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $3,987.64
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 14-28990                   Doc 1                                         Filed 08/07/14 Entered 08/07/14 12:23:23                                         Desc Main
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B6F (Official Form 6F) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s)                                                            Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                                INCURRED AND                                                                    AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                         CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                        CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                        SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                      STATE.


 ACCOUNT NO.                                                                                                                                                           $558.50
 1001
 American Express
 c/o Becket & Lee LLP
 PO Box 3001
 Malvern, PA 19355-0701

 ACCOUNT NO.                                                                                                                                                           $957.00
 90658xxxx
 Citibank NA
 1000 Technolgy Drive
 O’Fallon, MO 63368


 ACCOUNT NO.                                                                                                                                                           $1,798.70
 3514
 Citibank (South Dakota)
 c/o eCAST Settlement Corp
 PO Box 29262
 New York, NY 10087-9262

 ACCOUNT NO.                                                                                                                                                           $660.73
 5989
 Credit First NA/Firestonre
 PO Box 818011
 Cleveland, OH 44181


 ACCOUNT NO.                                                                                                                                                           $421.49
 3307
 GEMB/Walmart
 c/o PRA Receivables Mgmt
 PO Box 41067
 Norfolk, VA 23541


 Sheet no._3_of_6_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $4,396.42
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 14-28990                   Doc 1                                         Filed 08/07/14 Entered 08/07/14 12:23:23                                         Desc Main
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B6F (Official Form 6F) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s)                                                            Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                                INCURRED AND                                                                    AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                         CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                        CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                        SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                      STATE.


 ACCOUNT NO.                                                                                                                                                           $414.00
 108918xxxx
 Carson Pirie Scott/HSBC
 PO Box 15521
 Wilmington, DE 19805


 ACCOUNT NO.                                                                                                                                                           $456.45
 0985
 WFNNB/Lane Bryant
 c/o Quantum 3 Grp LLC
 PO Box 788
 Kirkland, WA 98083-0788
 ACCOUNT NO.                                                                                                                                                           $1,098.67
 7848
 Home Depot/Citibank
 c/o Portfolio Recov Assoc
 PO Box 41067
 Norfolk, VA 23541

 ACCOUNT NO.                                                                                                                                                           $577.92
 0532
 WFFNB/Value City
 c/o Quantum 3 Grp LLC
 PO Box 788
 Kirkland, WA 98083-0788

 ACCOUNT NO.                                                                                                                                                           $775.40
 9661
 Payday Loan Store
 PLS Fincl Bnkrptcy Dept
 800 Jorie Blvd, 2nd Floor
 Oak Brook, IL 60523


 Sheet no._4_of_6_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $3,322.44
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s) Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                              DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                              INCURRED AND                                                                      AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                       CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                      CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                      SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                    STATE.


 ACCOUNT NO.                                                                               1021800067 - $572.00                                                        $1,282.00
 Various                                                                                   1134000176 - $710.00
 Metro South Medical Cntr
 12935 S. Gregory
 Blue Island, IL 60406


 ACCOUNT NO.                                                                                                                                                           $1,133.25
 321221491/322757048
 Univ of Chgo Med Cntr
 15965 Collections Cntr Dr
 Chicago, IL 60693


 ACCOUNT NO.                                                                                                                                                           $1,854.69
 5677
 Citibank (South Dakota)
 c/o eCAST Settlement Corp
 PO Box 29262
 New York, NY 10087-9262

 ACCOUNT NO.                                                                                                                                                           $3,046.94
 9661
 The Bureaus Inc.
 1717 Central Street
 Evanston, IL 60201


 ACCOUNT NO.                                                                                                                                                           $93.00
 10490xxxx
 Unimed Ltd Metro South
 c/o Medical Bus Bureau
 PO Box 1219
 Park Ridge, IL 60068-7219


 Sheet no._5_of_6_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $7,409.88
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 14-28990                   Doc 1                                        Filed 08/07/14 Entered 08/07/14 12:23:23                                          Desc Main
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B6F (Official Form 6F) (12/07) – Cont.

In re Peggy D. Doss , Debtor(s) Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                              DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                                                                         INCURRED AND                                                                      AMOUNT
                                         CODEBTOR

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                       CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                      CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                      SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                    STATE.


 ACCOUNT NO.                                                                                                                                                           $770.00
 90658xxxx
 Citibank NA/OneStop
 1000 Technology Drive
 MS504A
 O’Fallon, MO 63368-2240

 ACCOUNT NO.                                                                                                                                                           $2,767.00
 D000134381
 U of I Med. Center Chgo.
 c/o Medical Bus. Bureau
 1175 Devin Dr., Ste. 173
 Norton Shores, MI 49441
 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no._6_of_6_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $3,537.00
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $36,952.15
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-28990               Doc 1       Filed 08/07/14 Entered 08/07/14 12:23:23                              Desc Main
                                                      Document     Page 28 of 55
B6G (Official Form 6G) (12/07)




       In re Peggy D. Doss , Debtor(s)             Case No.


             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
      State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
     Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one
     of the leases or contracts, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child, by
     John Doe, guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bank. P. 1007(m).

 [ ] Check this box if debtor has no executory contracts or unexpired leases.




                                                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
      NAME AND MAILING ADDRESS, INCLUDING ZIP                                      DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
        CODE, OF OTHER PARTIES TO LEASE OR                                        NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                    CONTRACT.                                                          NUMBER OF ANY GOVERNMENT CONTRACT.




  David Doss                                                                    $400.00/month residential lease
  12142 South Ada Street
  Chicago, IL 60643
           Case 14-28990              Doc 1         Filed 08/07/14 Entered 08/07/14 12:23:23                           Desc Main
                                                     Document     Page 29 of 55

B6H (Official Form 6H) (12/07)

    In re Peggy D. Doss , Debtor(s)               Case No.


                                                 SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property
state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the
debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a
minor child is a co-debtor or creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a
minor child, by John Doe, guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. Bankr. P. 1007(m).

   [X] Check this box if debtor has no codebtors.



     NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR
              Case 14-28990             Doc 1      Filed 08/07/14 Entered 08/07/14 12:23:23                          Desc Main
B6I (Official Form 6I) (12/13)
                                                    Document     Page 30 of 55
Debtor 1        Peggy D. Doss                                                          Check if this is:
Debtor 2                                                                                                   An amended filing
United States Bankruptcy Court for the Northern District of Illinois                                       A supplement showing
Case No.                                                                                                   post-petition Chapter 13
                (if known)                                                                                 income as of the following date:

                                                                                                           mm/dd/yyyy
                                               SCHEDULE I - YOUR INCOME
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

PART 1: Describe Employment
1. Fill in employment information.              Debtor 1                                         Debtor 2 or non-filing spouse
If you have more than one job, attach           Employment          X          Employed                             Employed
separate page with information about            Status                         Not employed                         Not employed
additional employers.

Include part-time, seasonal, or self-
employed work.
                   Occupation:                  See Attached
Occupation may include student
or homemaker, if it applies.
                   Employer’s Name:             See Attached

                     Employer’s Address:        See Attached




                     How long employed there?

PART 2: Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include
your non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
lines below. If you need more space, attaché a separate sheet to this form.
                                                                                                For Debtor 2 or
                                                                               For Debtor 1     non-filing spouse
  2. List monthly gross wages, salary and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. $2,630.03           $0
  3. Estimate and list monthly overtime pay.                                   $0               $0
  4. Calculate gross income. Add lines 2 and 3.                                $2,630.03        $0
  5. List all payroll deductions:
          5a.     Tax, Medicare, and Social Security Deductions                $413.54          $0
          5b.     Mandatory contributions for retirement plans                 $0               $0
          5c.     Voluntary contributions for retirement plans                 $22.08           $0
          5d.     Required repayments of retirement fund loans                 $27.08           $0
          5e.     Insurance                                                    $38.72           $0
          5f.     Domestic support obligations                                 $0               $0
          5g.     Union dues                                                   $0               $0
          5h.     Other deductions.
                            Specify:                                           $0               $0
  6. Add the payroll deductions. Add lines 5a to 5h.                           $501.42          $0

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                 $2,128.61          $0
Form B 6I                                                 Schedule I - Your Income                                             page 1
            Case 14-28990          Doc 1       Filed 08/07/14 Entered 08/07/14 12:23:23                    Desc Main
Debtor 1         Peggy D. Doss                  Document     Page 31 of 55
Debtor 2                                                      Case No.
                                                                                (if known)

                                           SCHEDULE I - YOUR INCOME
                                                  (continued)
                                                                                                  For Debtor 2 or
                                                                                For Debtor 1      non-filing spouse
 8. List all other income regularly received:
   8a. Net income from rental property and from operating a
         Business, profession, or farm
         Attach a statement for each property and business showing
         gross receipts, ordinary and necessary business expenses,
         and the total monthly net income.                                      $400.00           $0
   8b. Interest and dividends                                                   $0                $0
   8c. Family support payments that you, a non-filing spouse, or
         A dependent regularly receive
         Include alimony, spousal support, child support, maintenance,
         divorce settlement, and property settlement.                           $0                $0
   8d. Unemployment compensation                                                $0                $0
   8e. Social Security                                                          $0                $0
   8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash
         assistance that you receive, such as food stamps (benefits under
         the Supplemental Nutrition Assistance Program) or housing
         subsidies. Specify:                                                    $0                $0
   8g. Pension or retirement income                                             $0                $0
   8h. Other monthly income. Specify:                                           $0                $0
 9. Add all other income. Add lines 8a to 8h.                                   $400.00           $0
10. Calculate monthly income. Add lines 7 and 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.      $2,528.61         $0                  = $2,528.61
11. State all other regular contributions to the expenses that you list in in Schedule J.
Include all contributions from an unmarried partner, members of your household, your dependents, your roommates,
andother friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in
Schedule J. Specify:                                                                                                    $0
12. Add the amount in the last column of line 10 to the amount in line 11. This result is the combined
monthly income. Write the amount of the Summary of Schedules and Statistical Summary of Certain Liabilities
and Related Data, if it applies.                                                                                        $2,528.61
                                                                                                                      Combined
                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        X        No
                 Yes. Explain:




Form B 6I                                            Schedule I - Your Income                                      page 2
              Case 14-28990              Doc 1     Filed 08/07/14 Entered 08/07/14 12:23:23              Desc Main
B6I (Official Form 6I) (12/13)
Continuation page
                                                    Document     Page 32 of 55

Debtor 1             Peggy D. Doss
Debtor 2                                                         Case No.
                                                                                  (if known)

                                                 SCHEDULE I - YOUR INCOME
                                                  Continuation sheet for more than one job

PART 1: Describe Employment (continued)
1. Fill in employment information.


Occupation:                      Department Supervisor

Employer’s Name:                 Home Depot

Employer’s Address:              1550 South Torrence Avenue

                                 Calumet City, IL 60409



How long employed there? 8 years

PART 2: Give Details About Monthly Income (continued)
2. List monthly gross wages, salary and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be.                    $1,103.77

3. Estimate and list monthly overtime pay.                                                     $0

4. Calculate gross income. Add lines 2 and 3.                                                  $1,103.77

5. List all payroll deductions:
         5a.      Tax, Medicare, and Social Security Deductions                                $132.45
         5b.      Mandatory contributions for retirement plans                                 $0
         5c.      Voluntary contributions for retirement plans                                 $22.08
         5d.      Required repayments of retirement fund loans                                 $27.08
         5e.      Insurance                                                                    $38.72
         5f.      Domestic support obligations                                                 $0
         5g.      Union dues                                                                   $0
         5h.      Other deductions. Specify:                                                   $0

6. Add the payroll deductions. Add lines 5a to 5h.                                             $220.33

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                         $883.44
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B6I (Official Form 6I) (12/13)
Continuation page

Debtor 1             Peggy D. Doss
Debtor 2                                                          Case No.
                                                                                  (if known)

                                                 SCHEDULE I - YOUR INCOME
                                                  Continuation sheet for more than one job

PART 1: Describe Employment (continued)
1. Fill in employment information.

2nd Job
Occupation:                      Customer Service Rep.

Employer’s Name:                 New Matteson Currency Exchange

Employer’s Address:              4453 West Lincoln Hwy

                                 Matteson, IL 60443



How long employed there? 3 years

PART 2: Give Details About Monthly Income (continued)
2. List monthly gross wages, salary and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be.                    $1,526.26

3. Estimate and list monthly overtime pay.                                                     $0

4. Calculate gross income. Add lines 2 and 3.                                                  $1,526.26

5. List all payroll deductions:
         5a.      Tax, Medicare, and Social Security Deductions                                $281.09
         5b.      Mandatory contributions for retirement plans                                 $0
         5c.      Voluntary contributions for retirement plans                                 $0
         5d.      Required repayments of retirement fund loans                                 $0
         5e.      Insurance                                                                    $0
         5f.      Domestic support obligations                                                 $0
         5g.      Union dues                                                                   $0
         5h.      Other deductions. Specify:                                                   $0

6. Add the payroll deductions. Add lines 5a to 5h.                                             $281.09

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                         $1,245.17
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Debtor 1        Peggy D. Doss                                                           Check if this is:
Debtor 2                                                                                                    An amended filing
United States Bankruptcy Court for the Northern District of Illinois                                        A supplement showing
Case No.                                                                                                    post-petition Chapter 13
                (if known)                                                                                  expenses as of the following date:

                                                                                                            mm/dd/yyyy
                                                                                                            A separate filing for Debtor 2
                                                                                                            because Debtor 2 maintains a
                                                                                                            separate household.
                                               SCHEDULE J - YOUR EXPENSES
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional page, write your name and case
number (if known). Answer every question.
PART 1: Describe Your Household
1. Is this a joint case?
         X          No. Go to line 2.
                    Yes. Does Debtor 2 live in a separate household?
                                       No
                                       Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents?            X        No                                   Dependent’s relationship Dependent’s Does Dependent
   Do not list Debtor 1 and                    Yes. Fill out this information for to Debtor 1 or Debtor 2       Age       live with you?
   Debtor 2.                                         each dependent……………
   Do not state the dependents’ names.




3. Do your expenses include expenses of people other than
   yourself and your dependents? X         No
                                           Yes

PART 2: Give Details About Monthly Income
Estimate your expenses as of your bankruptcy filing date, unless you are using this form as a supplement in a Chapter 13 case to
report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form
and
fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on your Schedule I: Your Income (Official Form B 6I.)                        Your Expenses

4. The rental or home ownership expenses for your residence.
   Include first mortgage payments and any rent for the ground or lot.                                      4.       $763.00
        If not included in line 4:
        4a.       Real estate taxes                                                                         4a.      $141.66
        4b.       Property, homeowner’s, or renter’s insurance                                              4b.      $127.00
        4c.       Home maintenance, repair, and upkeep expenses                                             4c.      $0
        4d.       Homeowner’s association or condominium dues                                               4d.      $0

5. Additional mortgage payments for your residence, such as home equity loans                               5.       $0

6. Utilities:
         6a.        Electricity, heat, natural gas                                                          6a.      $95.00
         6b.        Water, sewer, garbage collection                                                        6b.      $81.66
         6c.        Telephone, cell phone, internet, satellite, and cable services                          6c.      $130.00
         6d.        Other. Specify:                                                                         6d.      $0

Form B 6J                                                  Schedule J - Your Expenses                                          page 1
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Debtor 1          Peggy D. Doss
Debtor 2                                                        Case No.
                                                                                    (if known)
                                           SCHEDULE J - YOUR EXPENSES
                                                   (continued)
                                                                                                        Your Expenses

7. Food and housekeeping supplies                                                                7.     $250.00

8. Childcare and children’s education costs                                                      8.     $0

9. Clothing, laundry, and dry cleaning                                                           9.     $70.00

10. Personal care products and services                                                          10.    $0

11. Medical and dental expenses                                                                  11.    $49.00

12. Transportation. Include gas, maintenance, bus or train fare. Do not include car payments.    12.    $186.00

13. Entertainment, clubs, recreation, newspapers, magazines, and books.                          13.    $0

14. Charitable contributions and religious donations                                             14.    $0

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
        15a.      Life Insurance                                                                 15a.   $33.00
        15b.      Health Insurance                                                               15b.   $96.00
        15c.      Vehicle Insurance                                                              15c.   $130.00
        15d.      Other Insurance. Specify:                                                      15d.   $0

16. Taxes. Do not include taxes deducted from your pay or included in 4 or 20.
    Specify:                                                                                     16.    $0

17. Installment or lease payments:
         17a.    Car payments for Vehicle 1                                                      17a.   $0
         17b.    Car payments for Vehicle 2                                                      17b.   $0
         17c.    Other. Specify:                                                                 17c.   $0
         17d.    Other. Specify:                                                                 17d.   $0

18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from your pay on Line 5, Schedule I: Your Income (Official Form B 6I).                       18.    $0

19. Other payments you make to support others who do not live with you.
    Specify:                                                                                     19.    $0

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
        20a.     Mortgages on other property                                                     20a.   $0
        20b.     Real estate taxes                                                               20b.   $0
        20c.     Property, homeowner’s, or renter’s insurance                                    20c.   $0
        20d.     Maintenance, repair, and upkeep expenses                                        20d.   $0
        20e.     Homeowner’s association or condominium dues                                     20e.   $0

21. Other. Specify:                                                                              21.    $0

22. Your monthly expenses. Add lines 4 to 21. The result is your monthly expenses.               22.    $2,152.32

Form B 6J                                              Schedule J - Your Expenses                                 page 2
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Debtor 2                                                        Case No.
                                                                                    (if known)

                                          SCHEDULE J - YOUR EXPENSES
                                                  (continued)

23. Calculate your monthly net income.
        23a.     Copy line 12 (your combined monthly income) from Schedule I.                        23a.     $2,528.61
        23b.     Copy our monthly expenses from line 22 above                                        23b.     $2,152.32
        23c.     Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                              23c.     $376.29

24. Do you expect an increase or decrease in your expenses within the year after you
    file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or
    decrease because of a modification to the terms of your mortgage?     X           No               Yes

         Explain here:




Form B 6J                                              Schedule J - Your Expenses                                       page 3
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B6 (Official Form 6 – Declaration) (12/07)

      In re Peggy D. Doss , Debtor(s)                              Case No.


                                          DECLARATION CONCERNING DEBTOR’S SCHEDULES
                                   DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 29 sheets, and that they are true and correct to the best
    of my knowledge, information, and belief.


Date                       8/4/2014                                              Signature:                 /s/Peggy D. Doss
                                                                                                            DEBTOR


Date                                                                             Signature:
                                                                                                            JOINT DEBTOR, if any
                                                                                               [If joint case, both spouses must sign.]
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines
have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of
the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                                                           Social Security No.
                                                                                                                                              (Required by 11 U.S.C. § 110)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
partner who signs this document.




Address

X
    Signature of Bankruptcy Petition Preparer                                                                                          Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an
individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                            DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                                                [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the                                             [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of                                           sheets (total shown on summary page plus 1.), and that they are
true and correct to the best of my knowledge, information, and belief.

Date                                                                                          Signature:


                                                                                                            [Print or type name of individual signing on behalf of debtor.]

                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (4/10)


                                        UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
      In re: Peggy D. Doss                              , Debtor

                                                  STATEMENT OF FINANCIAL AFFAIRS
         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual’s personal
affairs. To indicate payments, transfers and the like to minor children, state the child’s initials and the name and address of the
child’s parent or guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See, 11
U.S.C. § 112, Fed. R. Bankr. P. 1007(m).

         Question 1 – 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 – 25. If the answer to an applicable question is “None,” mark the box labeled “None.” If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
name, case number (if known), and the number of the question.

                                                                   DEFINITIONS
          “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is “in business” for the purpose of this form if the debtor is or has been, within the six years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a
sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor’s primary employment.

          “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                              1. Income from employment or operation of business

[ ] None                      State the gross amount of income the debtor has received from employment, trade, or profession, or from
                              operation of the debtor’s business, including part-time activities either as an employee or in independent trade
                              or business, from the beginning of this calendar year to the date this case was commenced. State also the
                              gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                              maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report
                              fiscal year income. Identify the beginning and ending dates of the debtor’s fiscal year.) If a joint petition is
                              filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
                              state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                              joint petition is not filed.)

                              AMOUNT                                                          SOURCE (if more than one)

                              2014 - $18,262.92                                               work
                              2013 - $28,768.00                                               work
                              2012 - $30,006.00                                               work
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              2. Income other than from employment or operation of business

[ ] None      State the amount of income received by the debtor other than from employment, trade, profession, or
              operation of the debtor’s business during the two years immediately preceding the commencement of this
              case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors
              filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
              filed, unless the spouses are separated and a joint petition is not filed.)

              AMOUNT                                                            SOURCE
       2013   $15.00                                                            unemployment
       2012   $2,839.00                                                         unemployment

____________________________________________________________________________________________________

              3. Payments to creditors

              Complete a. or b., as appropriate, and c.

[X] None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment
              purchases of goods or services, and other debts to any creditor, made within 90 days immediately preceding
              the commencement of this case if the aggregate value of all property that constitutes or is affected by such
              transfer is not less that $600. Indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
              approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or
              chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                            DATES OF                     AMOUNT                      AMOUNT
          OF CREDITOR                              PAYMENTS                     PAID                        STILL OWING




[X] None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
              made within 90 days immediately preceding the commencement of the case if the aggregate value of all
              property that constitutes or is affected by such transfer is not less than $5,475. If the debtor is an individual,
              indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
              obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting
              and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments
              and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
              separated and a joint petition is not filed.)

       NAME AND ADDRESS                            DATES OF                     AMOUNT                      AMOUNT
          OF CREDITOR                              PAYMENTS/                    PAID OR                     STILL OWING
                                                   TRANSFERS                    VALUE OF
                                                                                TRANSFERS
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[X] None    c. All debtors: List all payments made within one year immediately preceding the commencement of this
            case to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
            chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                     DATE OF                     AMOUNT                      AMOUNT
AND RELATIONSHIP TO DEBTOR                       PAYMENT                     PAID                        STILL OWING




            4. Suits and administrative proceedings, executions, garnishments and attachments
[X] None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year
            immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter
            13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
            the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                    COURT OR AGENCY                     STATUS OR
AND CASE NUMBER               NATURE OF PROCEEDING                 AND LOCATION                        DISPOSITION




[X] None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process
            within one year immediately preceding the commencement of this case. (Married debtors filing under
            chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or
            not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS                                                                      DESCRIPTIOIN
OF PERSON FOR WHOSE                              DATE OF                              AND VALUE OF
BENEFIT PROPERTY WAS SEIZED                      SEIZURE                              PROPERTY




            5. Repossessions, foreclosures and returns

[X] None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed
            in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of
            this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
            property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
            a joint petition is not filed.)

                                       DATE OF REPOSSESSION,                          DESCRIPTION
NAME AND ADDRESS                       FORECLOSURE SALE,                              AND VALUE OF
OF CREDITOR OR SELLER                  TRANSFER OR RETURN                             PROPERTY
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            6.   Assignments and receiverships

[X] None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
            include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses
            are separated and a joint petition is not filed.)

                                                                                     TERMS OF
NAME AND ADDRESS                                DATE OF                              ASSIGNMENT
OF ASSIGNEE                                     ASSIGNMENT                           OR SETTLEMENT




[X] None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within
            one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
            chapter 13 must include information concerning property of either or both spouses whether or not a joint
            petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              NAME AND LOCATION                                               DESCRIPTION
NAME AND ADDRESS              OF COURT                             DATE OF                    AND VALUE OF
OF CUSTODIAN                  CASE TITLE & NUMBER                  ORDER                      PROPERTY




            7. Gifts

[X] None    List all gifts or charitable contributions made within one year immediately preceding the commencement of
            this case except ordinary and usual gifts to family members aggregating less than $200 in value per
            individual family member and charitable contributions aggregating less than $100 per recipient. (Married
            debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS              RELATIONSHIP                                                    DESCRIPTION
OF PERSON                     TO DEBTOR,                           DATE                       AND VALUE
OR ORGANIZATION               IF ANY                               OF GIFT                    OF GIFT




            8. Losses

[X] None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
            commencement of this case or since the commencement of this case:. (Married debtors filing under chapter
            12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless
            the spouses are separated and a joint petition is not filed.)

DESCRIPTION            DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF           LOSS WAS COVERED IN WHOLE OR IN PART                                   DATE OF
PROPERTY               BY INSURANCE, GIVE PARTICULARS                                         LOSS
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                 9. Payments related to debt counseling or bankruptcy

[ ] None         List all payments made or property transferred by or on behalf of the debtor to any persons, including
                 attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                 petition in bankruptcy within one year immediately preceding the commencement of this case.

                                            DATE OF PAYMENT,                    AMOUNT OF MONEY OR
NAME AND ADDRESS                            NAME OF PAYER IF                    DESCRIPTION AND VALUE
OF PAYEE                                    OTHER THAN DEBTOR                   OF PROPERTY

Law Offices of Martin J. O’Hearn            7/29/2014                           $500.00
10047 South Western
Chicago, IL 60643



                 10. Other transfers

[X] None    a. List all property, other than property transferred in the ordinary course of the business or financial affairs
            of the debtor, transferred either absolutely or as security within two years immediately preceding the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
            either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)
                                                                                        DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE,                                                         TRANSFERRED
RELATIONSHIP TO DEBTOR                                      DATE                        AND VALUE RECEIVED




[X] None         b. List all property transferred by the debtor within ten years immediately preceding the commencement of
                 this case to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TURST OR OTHER                      DATE(S) OF                 AMOUNT OF MONEY OR DESCRIPTION
DEVICE                                      TRANSFER(S)                AND VALUE OF PROPERTY OR DEBTOR’S
                                                                       INTEREST IN PROPERTY




                 11. Closed financial accounts

[X] None         List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                 which were closed, sold, or otherwise transferred within one year immediately preceding the commencement
                 of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other
                 instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                 brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                 must include information concerning accounts or instruments held by or for either or both spouses whether or
                 not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                            TYPE OF ACCOUNT, LAST FOUR                            AMOUNT AND
NAME AND ADDRESS                            DIGITS OF ACCOUNT NUMBER,                             DATE OF SALE
OF INSTITUTION                              AND AMOUNT OF FINAL BALANCE                           OR CLOSING
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            12. Safe deposit boxes

[X] None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
            valuables within one year immediately preceding the commencement of this case. (Married debtors filing
            under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
            joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS              NAMES AND ADDRESSES                  DESCRIPTION                DATE OF TRANSFER
OF BANK OR                    OF THOSE WITH ACCESS                 OF                         OR SURRENDER,
OTHER DEPOSITORY              TO BOX OR DEPOSITORY                 CONTENTS                   IF ANY




            13. Setoffs

[X] None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
            include information concerning either or both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                                                                   DATE OF                    AMOUNT OF
NAME AND ADDRESS OF CREDITOR                                       SETOFF                     SETOFF




            14. Property held for another person

[X] None    List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS                       DESCRIPTION AND VALUE
OF OWNER                               OF PROPERTY                                   LOCATION OF PROPERTY




            15. Prior address of debtor

[X] None    If debtor has moved within three years immediately preceding the commencement of this case, list all
            premises which the debtor occupied during that period and vacated prior to the commencement of this case.
            If a joint petition is filed, report also any separate address of either spouse.

            ADDRESS                             NAME USED                            DATES OF OCCUPANCY
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              16. Spouses and Former Spouses

[X] None      If the debtor resides or resided in a community property state, commonwealth, or territory, (including Alaska,
              Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
              within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
              spouse and of any former spouse who resides or resided with the debtor in the community property state.

              NAME




              17. Environmental Information

              For the purpose of this question, the following definitions apply:

              “Environmental Law” means any federal, state, or local statute or regulation regulating pollution,
              contamination, releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface
              water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
              cleanup of these substances, wastes, or material.

              “Site” means any location, facility, or property as defined under any Environmental law, whether or not
              presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              “Hazardous Material” means anything defined as a hazardous waster, hazardous substance, toxic substance,
              hazardous material, pollutant, or contaminant or similar term under an Environmental Law.


[X] None      a. List the name and address of every site for which the debtor has received notice in writing by a
              governmental unit that may be liable or potentially liable under or in violation of an Environmental Law.
              Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law.

SITE NAME              NAME AND ADDRESS                              DATE OF                     ENVIRONMENTAL
AND ADDRESS            OF GOVERNMENTAL UNIT                          NOTICE                      LAW




[X] None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a
              release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of
              the notice.

SITE NAME              NAME AND ADDRESS                              DATE OF                     ENVIRONMENTAL
AND ADDRESS            OF GOVERNMENTAL UNIT                          NOTICE                      LAW




[X] None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental
              law with respect to which the debtor is or was a party. Indicate the name and address of the governmental
              unit that is or was a party to the proceeding, and the docket number.

NAME AND ADDRESS                                   DOCKET NUMBER                                 STATUS OR
OF GOVERNMENTAL UNIT                                                                             DISPOSITION
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                  18. Nature, location and name of business

[X] None          a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                  partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-
                  employed in a trade, profession, or other activity either full- or part-time within six years immediately
                  preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                  equity securities within the six years immediately preceding the commencement of this case, or in which the
                  debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the
                  commencement of this case.

                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                  percent or more of the voting or equity securities, within the six years immediately preceding the
                  commencement of this case.

                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                  percent or more of the voting or equity securities within the six years immediately preceding the
                  commencement of this case.


                  LAST FOUR DIGITS
                  OF SOC. SEC. NO./
                  COMPLETE EIN OR                                          NATURE OF         BEGINNING AND ENDING
NAME              OTHER TAXPAYER I.D. NO.               ADDRESS            BUSINESS          DATES




[X] None          b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined
                  in 11 U.S.C. § 101.

                  NAME                                                     ADDRESS




          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following:
an officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed in a trade, profession or other activity,
either full- or part-time.

         (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has not
been in business within those six years should go directly to the signature page.)
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              19. Books, records and financial statements

[X] None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
              bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                              DATES SERVICES RENDERED




[X] None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
              case have audited the books of account and records, or prepared a financial statement of the debtor.

       NAME                              ADDRESS                              DATES SERVICES RENDERED




[X] None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
              books of account and records of the debtor. If any of the books of account and records are not available,
              explain.

              NAME                                                   ADDRESS




[X] None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom
              a financial statement was issued within the two years immediately preceding the commencement of this case.

              NAME AND ADDRESS                                                          DATE ISSUED




              20. Inventories

[X] None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
              taking of each inventory, and the dollar amount and basis of each inventory.

                                                                              DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY               INVENTORY SUPERVISOR                          (Specify cost, market or other basis)




[X] None      b. List the name and address of the person having possession of the records of each of the inventories
              reported in a., above.

                                                            NAME AND ADDRESSES OF CUSTODIAN
              DATE OF INVENTORY                                   OF INVENTORY RECORDS
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              21. Current Partners, Officers, Directors and Shareholders

[X] None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
              partnership.

       NAME AND ADDRESS                   NATURE OF INTEREST                    PERCENTAGE OF INTEREST




[X] None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
              directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
              corporation.

                                                                                NATURE AND PERCENTAGE
       NAME AND ADDRESS                             TITLE                        OF STOCK OWNERSHIP




              22. Former partners, officers, directors and shareholders

[X] None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year
              immediately preceding the commencement of this case.

       NAME                                         ADDRESS                               DATE OF WITHDRAWAL




[X] None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
              terminated within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                      TITLE                        DATE OF TERMINATION




              23. Withdrawals from a partnership or distributions by a corporation

[X] None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an
              insider, including compensation in any form, bonuses, loans, stock redemptions, options exercised and any
              other perquisite during one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                                                   AMOUNT OF MONEY
       OF RECIPIENT,                                DATE AND PURPOSE                      OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                       OF WITHDRAWAL                         AND VALUE OF PROPERTY
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             24. Tax Consolidation Group

[X] None     If the debtor is a corporation, list the name and federal taxpayer identification number of the parent
             corporation of any consolidated group for tax purposes of which the debtor has been a member at any time
             within six years immediately preceding the commencement of the case.

       NAME OF PARENT CORPORATION                         TAXPAYER IDENTIFICATION NUMBER (EIN)




             25. Pension Funds

[X] None     If the debtor is not an individual, list the name and federal taxpayer identification number of any pension
             fund to which the debtor, as an employer, has been responsible for contributing at any time within six years
             immediately preceding the commencement of the case.

       NAME OF PENSION FUND                               TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                     ******
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[If completed by an individual or individual and spouse]


 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that they are true and correct.


Date          8/4/2014                                   Signature                    /s/Peggy D. Doss
                                                                                      Debtor

Date                                                     Signature
                                                                                      Joint Debtor (if any)

________________________________________________________________________                                                                        ______________________ _______________

[If completed by an individual or individual and spouse]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that they are true and correct to the best of my
knowledge, information and belief.


Date                                                                    Signature


                                                                        Signature
                                                                                      Print Name and Title

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                                                continuation sheets attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. §110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110: (2) I prepared this document for compensation
and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if
rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I
have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by
that section.


Printed or Typed name and Title, if any, of Bankruptcy Petition Preparer                                                         Social Security No. (Required by 11 U.S.C. § 110)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the office, principal, responsible
person, or partner who signs this document.




Address



Signature of Bankruptcy Petition Preparer                                                                                                       Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is not
an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 18 U.S.C. § 156.
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                                                   United States Bankruptcy Court
                                                             Northern District of Illinois

     In re Peggy D. Doss, Debtor

                                                                                                    Case No._________________

                                                                                                    Chapter_____13___________



                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
   compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or
   to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

   For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $3,000.00

   Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . $500.00

   Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $2,500.00


2. The source of the compensation paid to me was:

             [X] Debtor                         [ ] Other (specify)


3. The source of compensation to be paid to me is:

             [X] Debtor                         [ ] Other (specify)


4. [X] I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
        firm.

  [ ] I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my law
      firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
      bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)



   d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

   e. [Other provisions as needed]



6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
                 I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me
                 for representation of the debtor(s) in this bankruptcy proceeding.




                      8/4/2014                                                 /s/Martin J. O’Hearn
                        Date                                                   Signature of Attorney
                                                                 The Law Offices of Martin J. O’Hearn_
                                                                 10047 South Western Avenue, Chicago, IL 60643
                                                                 (773) 238-4400 Atty Reg# 6185904
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                                       UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS

                          RIGHTS AND RESPONSIBILITIES AGREEMENT BETWEEN
                               CHAPTER 13 DEBTORS AND THEIR ATTORNEYS
                        (Court-Approved Retention Agreement, revised as of March 15, 2011)

          Chapter 13 gives debtors important rights, such as the right to keep property that could otherwise be lost through
repossession or foreclosure-but Chapter 13 also puts burdens on debtors, such as the burden of making complete and
truthful disclosures of their financial situation. It is important for debtors who file a Chapter 13 bankruptcy case to
understand their rights and responsibilities in bankruptcy. In this connection, the advice of an attorney is often crucial.
Debtors are entitled to certain services from by their attorneys, but debtors have responsibilities to their attorneys. In order
to assure that debtors and their attorneys understand their rights and responsibilities in the Chapter 13 process, the judges
of the Bankruptcy Court for the Northern District of Illinois have approved the following agreement, setting out the rights
and responsibilities of both debtors in Chapter 13 and their attorneys. By signing this agreement, debtors and their
attorneys accept these responsibilities.

BEFORE THE CASE IS FILED

                  THE DEBTOR AGREES TO:

1. Discuss with the attorney the debtor's objectives in filing the case.

2. Provide the attorney with full, accurate and timely information, financial and otherwise, including properly documented
proof of income

                  THE ATTORNEY AGREES TO:

1. Personally counsel the debtor regarding the advisability of filing either a Chapter 13 or a Chapter 7 case, discuss both
procedures (as well as non-bankruptcy options) with the debtor, and answer the debtor's questions.

2. Personally explain to the debtor that the attorney is being engaged to represent the debtor on all matters arising in the
case, as required by Local Bankruptcy Rule and explain how and when the attorney's fees and the trustee's fees are
determined and paid.

3. Personally review with the debtor and sign the completed petition, plan, statements, and schedules, as well as all
amendments thereto, whether filed with the petition or later. (The schedules may be initially prepared with the help of
clerical or paralegal staff of the attorney's office, but personal attention of the attorney is required for the review and
signing.)

4. Timely prepare and file the debtor's petition, plan, statements and schedules.

5. Explain to the debtor how, when, and where to make all necessary payments, including both payments that must be
made directly to creditors and payments that must be made to the Chapter 13 trustee, with particular attention to housing
and vehicle payments.

6. Advise the debtor of the need to maintain appropriate insurance.

AFTER THE CASE IS FILED

                   THE DEBTOR AGREES TO:

I. Make the required payments to the trustee and to whatever creditors are being paid directly, or, ifrequired payments
cannot be made, to notify the attorney immediately.

2. Appear punctually at the meeting of creditors (also called the "341 meeting") with recent proof of income and a picture
identification card. (If the identification card does not include the debtor's social security number, the debtor will also

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bring to the meeting a social security card.) The debtor must be present in time for check-in and when the case is called
for the actual examination.

3. Notify the attorney of any change in the debtor's address or telephone number.

4. Inform the attorney of any wage garnishments or liens or levies on assets that occur or continue after the filing of the
case.

5. Contact the attorney immediately ifthe debtor loses employment, has a significant change in income, or experiences
any other significant change in financial situation (such as serious illness, marriage, divorce or separation, lottery
winnings, or an inheritance).

6. Notify the attorney if the debtor is sued or wishes to file a lawsuit (including divorce).

7. Inform the attorney if any tax refunds to which the debtor is entitled are seized or not received when due from the IRS
or Illinois Department of Revenue.

8. Contact the attorney before buying, refinancing, or selling real property, and before entering into any loan agreement.

9. Supply the attorney with copies of all tax returns filed while the case is pending.

                  THE ATTORNEY AGREES TO:

1. Advise the debtor of the requirement to attend the meeting of creditors, and notify the debtor of the date, time and place
of the meeting.

2. Inform the debtor that the debtor must be punctual and, in the case of a joint filing, that both spouses must appear at the
same meeting.

3. Provide knowledgeable legal representation for the debtor at the meeting of creditors (in time for check-in and the
actual examination) and, unless excused by the trustee, for the continuation hearing.

4. If the attorney will be employing another attorney to attend the 341 meeting or any court hearing, personally explain to
the debtor in advance, the role and identity of the other attorney and provide the other attorney with the file in sufficient
time to review it and properly represent the debtor.

.S. Timely submit to the Chapter 13 trustee properly documented proof of income for the debtor, including business reports
for self-employed debtors.

6. Timely respond to objections to plan confirmation and, where necessary, prepare, file, and serve an amended plan.

7. Timely prepare, file, and serve any necessary amended statements and schedules and any change of address, in
accordance with information provided by the debtor.

8. Monitor all incoming case information (including, but not limited to, Order Confirming Plan, Notice oflntent to Pay
Claims, and 6-month status reports) for accuracy and completeness. Contact the trustee promptly regarding any
discrepancies.

9. Be available to respond to the debtor's questions throughout the term of the plan.

10. Prepare, file, and serve timely modifications to the plan after confirmation, when necessary, including modifications to
suspend, lower, or increase plan payments.

11. Prepare, file, and serve necessary motions to buy or sell property and to incur debt.

12. Object to improper or invalid claims.


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13. Timely respond to the Chapter 13 trustee's motions to dismiss the case, such as for payment default, or unfeasibility,
and to motions to increase the percentage payment to unsecured creditors.

14. Timely respond to motions for relief from stay.

15. Prepare, file, and serve all appropriate motions to avoid liens.

16. Provide any other legal services necessary for the administration of the case before the bankruptcy court.


ALLOWANCE AND PAYMENT OF ATTORNEY'S FEES

1. Any attorney retained to represent a debtor in a Chapter 13 case is responsible for representing the debtor on all matters
arising in the case unless otherwise ordered by the court. For all of the services outlined above, the attorney will be paid a
fee of


                                                           $3,000.00

Prior to signing this agreement the attorney has received $   S   0 0 , t.9 (' , leaving a balance due of
$ j.  s· o 0 (di.' In extraordinary circumstances, such as extended evidentiary hearings or appeals, the attorney may
apply to the court for additional compensation for these services. Any such application must be accompanied by an
itemfaation of the services rendered, showing the date, the time expended, and the identity of the attorney performing the
services. The debtor must be served with a copy of the application and notified of the right to appear in court to object.

2. Early termination ofthe case. Fees payable under the provisions set out above are not refundable in the event that the
case is dismissed, unless the dismissal is due to a failure by the attorney to comply with the duties set out in this
agreement. Ifa dismissal is due to such a failure by the attorney, the court may order a refund of fees on motion by the
debtor.

3. Retainers. The attorney may receive a retainer or other payment before filing the case, but may not receive fees directly
from the debtor after the filing of the case. Unless the following provision is checked and completed, any retainer
received by the attorney will be treated as a security retainer, to be placed in the attorney's client trust account until
approval of a fee application by the court.

[X] Any retainer received by the attorney will be treated as an advance payment, allowing the attorney to take the retainer
into income immediately. The reason for this treatment is the following:

The Debtor meets with an Attorney with over 30 years of experience and with a concentration in Chapter 13 Proceedings
for over 19 years. The first meeting lasts an average of2 hours. The Attorney pulls a credit report for the Debtor and
gives the Debtor a copy of it to keep, regardless of whether he is retained. The Attorney examines the credit report with
the Debtor, as well as the Debtor's recent bills and pay stubs. Any previous Bankruptcy Proceeding in the last 8 years is
also examined. It is then determined whether the Debtor is eligible to file for a Chapter 13 Proceeding. If income is
insufficient, the Attorney estimates the net income for the Debtor to be eligible to file and advises the Debtor in this
regard. If the Debtor is eligible, the Debtor and Attorney fill out a draft copy of the Chapter 13 Proceeding documents.
Then the Attorney has his secretary type up the documents for accuracy and necessary changes. This, typically, takes over
3 hours. The Attorney then reviews the clerk's amendments, which takes about an hour. The Attorney then meets with
the Debtor for a second meeting to review the documents with the Debtor and have the Debtor sign them. The necessary
changes are made. The Debtor is also given written instructions to follow at this time. Typically, this second meeting
lasts 2 hours. Once the documents are signed, a law clerk prepares the documents and files them, which takes about a half
hour.

In any application for fees, whether or not requiring an itemization, the attorney shall disclose to the court any fees paid by
the debtor prior to the case filing.

4. Improper conduct by the attorney. If the debtor disputes the sufficiency or quality of the legal services provided or the
amount of the fees charged by the attorney, the debtor may file an objection with the court and request a hearing.

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5. Improper conduct by the debtor. If the attorney believes that the debtor is not complying with the debtor's
responsibilities under this agreement or is otherwise not engaging in proper conduct, the attorney may apply for a court
order allowing the attorney to withdraw from the case.

6. Discharge ofthe attorney. The debtor may discharge the attorney at any time.


Date:._-7_/       :J-_V{_/~(._j_·

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Joint Debtor

Do not sign if the fee amounts on page
3 are blank.

Attorney Fees:

Down Payment:

Balance Due:




                                                             4
